1:23-cv-01184-CRL-JEH # 318-23   Filed: 04/22/24   Page 1 of 2




            Exhibit 
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                                          --~-- I                   LABORATORY    REPORT / PEORIA     POLICE                                                                                 IAGENCY NO.                                        I - -- ---
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      Murder-B
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      COOPER, Connie & ROBINSON, James
                                                                                                              IAODRESS
                                                                                                                                        w. Garden
                                                                                                  LABORATORY SERVICES PERFORMED
    1 FINGERPRINT(S) DEVELOPED                                                  5   TOOLMARKS                                                                  9     FIBER EXAMINATION                                13 PHOTOGRAPHS TAKEN
    2 LATENT                                                                    6   BALLISTICS                                                                 10 GLASS EXAMINATION                                   14     NO EVIDENCE
    3 NO LATENT DEVELOPMENT                                                     7   BLOOD ANALYSIS                                                             11    HAIR EXAMINATION                                >IX OTHER (EXPLAIN)                           LUMINOL
4 ELIMINATION PRINTS TAKEN                                                     8    BLOOD TYPING                                                               12 NARCOTIC PROCESSING
           i:'URTHER LAEi            I   EVIDENCE SUBMITTED TO                                                                                                                                            I OT ► IER LAO NUMOEK                          I OATI' OF SUBMITTAL
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    EVIDENCE PLACED                                                                                          LAO RESU L.ts RlCEIV f D FR0•1
    IN PROPERTY                      I                                                                                                                                                                                                                   I


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    □ STATE'S ATTORNEY                               □ CID          □ OTHER              l                            □ CASE DATA SHEET                             0 LAB RECEIPT   0 LAB RESULTS             QOTHER

      This officer conducted a Luminol test for the presence of human blood in the bedroom and bathroom of the above location.

     The following results were accornplj_shed. The test received a positive result on the wall of the bathroom. The result of this

      test was a series of spots that were made visible by the test but were not visible to the human eye without the aoolication
     of the Luminol. These same spots were visible on the sink and the sidesx of the bath ll                                                                                                                  tub. It appeared that the snots wer1a
      caused by spraying the walls with a liquid that possibly contained human blood. The floor of the bathroom exhibited similar

      results. The base of the inside of the sink and the bath tub exhibited a stronger reaction to the chemical. The outside

     door handle to the bedroom I ~ where the victims were located also indicated a positive reaction for human blood.

     Areas in the living room and the ROBINSON boy's bedroom were used as test standard areas to see the reaction with similar

     surfaces. The test areas provided negative results for human blood.




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